     Case 1:25-cv-00511-CRC         Document 1   Filed 02/20/25   Page 1 of 35




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



CITIZENS FOR RESPONSIBILITY AND ETHICS
IN WASHINGTON,
1331 F Street NW
Washington, DC 20004,

      Plaintiff,


      v.

                                                   Case No. _______________
U.S. DOGE SERVICE,
736 Jackson Pl. NW
Washington, DC 20503,

JOHN DOE, in their official capacity as
Administrator of the U.S. DOGE Service
736 Jackson Pl. NW
Washington, DC 20503,

ELON MUSK, in his official capacity,
c/o Executive Office of the President
1600 Pennsylvania Avenue NW
Washington, DC 20500,

OFFICE OF MANAGEMENT AND BUDGET,
725 17th Street NW
Washington, DC 20503,

RUSSELL VOUGHT, in his official capacity as
Director, Office of Management and Budget
725 17th Street NW
Washington, DC 20503,

NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,
700 Pennsylvania Avenue NW
Washington, DC 20408, and
         Case 1:25-cv-00511-CRC         Document 1       Filed 02/20/25     Page 2 of 35




    MARCO RUBIO, in his official capacity as Acting
    Archivist of the United States,
    700 Pennsylvania Avenue NW
    Washington, DC 20408,

                 Defendants.


              COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

         Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) hereby sues

Defendants the United States DOGE Service (“USDS”); John Doe, in their official capacity as

Administrator of the U.S. DOGE Service; Elon Musk, in his official capacity; Office of

Management and Budget (“OMB”); Russell Vought, in his official capacity as Director of OMB;

the National Archives and Records Administration (“NARA”); and Marco Rubio, in his official

capacity as Acting Archivist of the United States and alleges as follows:

                                       INTRODUCTION

         1.     The Trump Administration’s so-called “Department of Government Efficiency”

vowed to operate with “maximum transparency.” 1 It has done the opposite. Since President

Trump first announced its creation in November 2024, and even after he formally established it

by executive order as “the United States DOGE Service” (“USDS”), 2 the entity has worked in

the shadows—a cadre of largely unidentified actors, whose status as government employees is

unclear, controlling major government functions with no oversight. USDS has provided no




1
  Elon Musk (@elonmusk), X (Nov. 12, 2024, 9:13 PM),
https://x.com/elonmusk/status/1856520760656797801 (“All actions of the Department of
Government Efficiency will be posted online for maximum transparency.”).
2
  See Establishing and Implementing the President’s “Department of Government Efficiency”,
Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 20, 2025).
                                                2
          Case 1:25-cv-00511-CRC        Document 1        Filed 02/20/25      Page 3 of 35




meaningful transparency into its operations or assurances that it is maintaining proper records of

its unprecedented and legally dubious work.

          2.   USDS is purely a creation of executive order. No statute authorizes its existence

or operations. And yet, USDS wields shockingly broad power over all manner of federal

functions—far exceeding its limited legal authority. In just a few weeks, USDS has, among other

things:

                   a. effectively taken control of and directed the actions of the Office of

                      Personnel Management, the agency responsible for the administration of

                      around 2.3 million Executive Branch employees; 3

                   b. taken credit for cancelling billions of dollars in federal contracts across

                      multiple agencies; 4

                   c. gained control of the computer system of the Consumer Financial

                      Protection Bureau after OMB closed the agency’s headquarters and

                      ordered its 1,700 employees to stop working; 5




3
  Brian Bennett, This Obscure Office Is at the Center of Elon Musk’s Efforts to Harness Federal
Data, TIME (Feb. 7, 2025), https://time.com/7213990/elon-musk-doge-opm/; Off. of Pers.
Mgmt., FY 2024 Annual Performance Report, https://www.opm.gov/about-us/2024-annual-
performance-report/opm-overview/; Off. of Pers. Mgmt., Federal Workforce Data,
https://www.fedscope.opm.gov/ (last visited Feb. 19, 2025).
4
  Charles Creitz, DOGE announces more than $1B in savings after canceling 104 federal DEI
contracts, FOX News (Jan. 31, 2025), https://www.foxnews.com/politics/doge-announces-more-
than-1b-savings-after-canceling-104-federal-dei-contracts; Savings, Dep’t of Gov’t Efficiency,
https://www.doge.gov/savings (last visited Feb. 19, 2025).
5
  Jason Leopold & Evan Weinberger, DOGE-Backed Halt at CFPB Comes Amid Musk’s Plans
for ‘X’ Digital Wallet, Bloomberg (Feb. 10, 2025),
https://www.bloomberg.com/news/features/2025-02-10/doge-backed-halt-at-cfpb-comes-amid-
musk-s-plans-for-x-digital-wallet; Stacy Cowley, 36 Hours After Russell Vought Took Over
Consumer Bureau, He Shut Its Operations, N.Y. Times (Feb. 9, 2025),
https://www.nytimes.com/2025/02/09/business/vought-cfpb-musk-trump.html.
                                                 3
       Case 1:25-cv-00511-CRC          Document 1       Filed 02/20/25     Page 4 of 35




                 d. executed a potentially unlawful plan to destroy an independent agency

                     authorized by Congress, the U.S. Agency for International Development,

                     leading to the estimated loss of almost 52,000 American jobs and a global

                     humanitarian crisis; 6

                 e. secured potentially illegal access to systems containing highly restricted

                     and confidential data, including classified material and millions of

                     Americans’ personal information, across more than a dozen agencies; 7

                 f. gained potentially illegal access to a highly sensitive payment system used

                     by the Treasury Department to disburse trillions of dollars every year; 8

                     and

                 g. enlisted and claimed authority to summon federal law enforcement in the

                     form of the U.S. Marshals Service to achieve its ends. 9



6
  Anna Maria Barry-Jester & Brett Murphy, In Breaking USAID, the Trump Administration May
Have Broken the Law, ProPublica (Feb. 9, 2025), https://www.propublica.org/article/usaid-
trump-musk-destruction-may-have-broken-law.
7
  Chas Danner, All the Federal Agencies DOGE Has Gotten Access To, NY Mag. (Feb. 10,
2025), https://nymag.com/intelligencer/article/doge-elon-musk-what-federal-agencies-access-
lawsuits.html; Aileen Graef & Veronica Stracqualursi, Homeland Security Secretary Noem says
DOGE team has access to agency data, CNN (Feb. 9, 2025),
https://www.cnn.com/2025/02/09/politics/noem-homeland-security-doge-musk-cnntv/index.htm;
Tony Romm, DOGE targets Consumer Financial Protection Bureau as Musk tweets ‘RIP’,
Wash. Post (Feb. 7, 2025), https://www.washingtonpost.com/business/2025/02/07/cfpb-doge-
trump-musk-chopra/; Ellen Knickmeyer, Elon Musk says President Donald Trump has ‘agreed’
USAID should be shut down, Associated Press (Feb. 2, 2025), https://apnews.com/article/doge-
musk-trump-classified-information-usaid-security-35101dee28a766e0d9705e0d47958611.
8
  Fatima Hussein, Elon Musk’s DOGE commission gains access to sensitive Treasury payment
systems: AP sources, AP News (Feb.1, 2025), https://apnews.com/article/donald-trump-elon-
musk-doge-treasury-5e26cc80fcb766981cea56afd57ae759; Andrew Duehren et al., Elon Musk’s
Team Now Has Access to Treasury’s Payments System, N.Y. Times (Feb. 1, 2025),
https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-
system.html.
9
  Andrew Roth, Doge v USAid: how Elon Musk helped his acolytes infiltrate world’s biggest aid
agency, The Guardian (Feb. 5, 2025), https://www.theguardian.com/us-news/2025/feb/05/musk-
                                               4
       Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25      Page 5 of 35




       3.      Federal law requires USDS to operate transparently. As an “establishment in the

executive branch of the Government (including the Executive Office of the President),” 5 U.S.C.

§ 552(f)(1), that exercises “substantial independent authority,” USDS must disclose its records

under the Freedom of Information Act (“FOIA”) and preserve its records under the Federal

Records Act (“FRA”). See CREW v. Off. of Admin., 566 F.3d 219, 224 (D.C. Cir. 2009).

Defendants, however, have refused to comply with Plaintiff’s FOIA requests for USDS records

and repeated demands for records preservation under the FRA.

       4.      Shining a light on USDS’s secretive operations strikes at the heart of FOIA’s

“basic purpose” to “ensure an informed citizenry, vital to the functioning of a democratic society,

needed to check against corruption and to hold the governors accountable to the governed.” Nat’l

Lab. Relations Bd. v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978). The American

people have a right to know how USDS is managing (or mismanaging) their tax dollars and their

data, how it is exercising its authority to influence government operations, whether conflicts of

interest in USDS leadership are impacting its work, and the extent to which it is operating

outside of its slim legal mandate. And the public interest is heightened by the unprecedented

nature and scale of USDS’s operations. USDS must comply with federal transparency laws,

regardless of whether it is a fully governmental body or a mix of public and private actors. See

Elec. Privacy Info. Ctr. v. Nat’l Sec. Comm’n on A.I., 466 F. Supp. 3d 100 (D.D.C. 2020)

(holding that entity was subject to both FOIA and the Federal Advisory Committee Act).

       5.      Plaintiff therefore seeks declaratory and injunctive relief requiring Defendants to

comply with Plaintiff’s FOIA requests and promptly disclose the requested records, to fully



doge-takeover-usaid; Ruth Marcus, Pardon me: What were the folks at DOGE thinking?, Wash.
Post (Jan. 23, 2025), https://www.washingtonpost.com/opinions/2025/01/23/doge-jan-6-
marshals-federal-judges/.
                                                 5
        Case 1:25-cv-00511-CRC           Document 1        Filed 02/20/25       Page 6 of 35




comply with the FRA’s preservation requirements, and to initiate enforcement action through the

Attorney General to recover any lost or destroyed USDS records.

        6.     Because of the urgent public interest in uncovering information about USDS’s

secretive operations before the congressional appropriations process concludes in March, and

because of the unaddressed concerns regarding USDS’s preservation of records in the midst of

its pervasive efforts to control the levers of government, Plaintiff is filing a motion for a

preliminary injunction requiring Defendants to (1) release responsive records sufficiently in

advance of the March 14 expiration of the current continuing resolution, no later than March 10,

2025, and (2) require preservation of relevant records pending litigation.

                                 JURISDICTION AND VENUE

        7.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises under FOIA, 5 U.S.C. § 552, and the Administrative Procedure

Act (“APA”), 5 U.S.C. § 702.

        8.     The Court further has jurisdiction pursuant to 28 U.S.C. § 1361, which grants

original jurisdiction to the district courts of “any action in the nature of mandamus to compel an

officer or employee of the United States or any agency thereof to perform a duty owed to the

plaintiff.”

        9.     Venue lies in this district under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e).

                                             PARTIES

        10.    Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) is a

non-partisan, non-profit government watchdog organization committed to protecting the rights of

citizens to be informed about the activities of government officials and agencies and to ensuring

ethics, transparency, and integrity in government. To advance its mission, CREW uses a



                                                  6
       Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25     Page 7 of 35




combination of research, litigation, and advocacy. As part of its research, CREW routinely uses

government records made available to it under FOIA, the Federal Advisory Committee Act, and

other federal laws, and widely disseminates those records to the public. As detailed below,

CREW has several pending FOIA requests for records relating to USDS and will submit more

requests in the future. CREW has a strong operational interest in Defendants’ compliance with

their recordkeeping obligations under the FRA. The unlawful destruction, alienation, or removal

of federal records relevant to CREW’s work impedes its ability to fulfill its mission and its

informational rights under FOIA.

       11.       Defendant USDS is an agency within the meaning of 5 U.S.C. § 552(f)(1), 5

U.S.C.§ 551(1), and 44 U.S.C. § 2901(14). USDS operates under the supervision and direction of

the USDS Administrator. USDS has possession and control of the requested records and is

responsible for fulfilling Plaintiff’s FOIA requests.

       12.       Defendant John Doe is the Administrator of USDS. To date, the federal

government has not identified who, if anyone, formally holds the position of USDS

Administrator.

       13.       Defendant Elon Musk is a Special Government Employee of the Executive

Branch and is sued in his official capacity only. On information and belief, Mr. Musk

functionally directs and oversees USDS’s operations and is its de facto Administrator.

       14.       Defendant Office of Management and Budget (“OMB”) is an agency within the

meaning of 5 U.S.C. § 552(f)(1), 5 U.S.C. § 551(1), and 44 U.S.C. § 2901(14). OMB has

possession and control of the requested records and is responsible for fulfilling Plaintiff’s FOIA

requests.




                                                  7
       Case 1:25-cv-00511-CRC           Document 1         Filed 02/20/25    Page 8 of 35




       15.     Defendant Russell Vought is the Director of the Office of Management and

Budget and is sued in his official capacity only.

       16.     Defendant National Archives and Records Administration (“NARA”) is an

agency within the meaning of 5 U.S.C. § 551(1), and 44 U.S.C. § 2901(14). NARA operates

under the supervision and direction of the Archivist of the United States.

       17.     Defendant Marco Rubio is the Acting Archivist of the United States and is sued in

his official capacity only.

                                    LEGAL FRAMEWORK

The Freedom of Information Act

       18.     FOIA, 5 U.S.C. § 552, requires federal agencies to release requested records to

the public unless one or more specific statutory exemptions apply.

       19.     An agency must respond to a party making a FOIA request within 20 working

days, notifying that party of at least the agency’s determination of which the requested records it

will release, which it will withhold and why, and the requester’s right to appeal the determination

to the agency head. 5 U.S.C. § 552(a)(6)(A)(i).

       20.     FOIA also requires agencies to promulgate regulations that provide for expedited

processing of FOIA requests where the requester demonstrates a “compelling need” as well as in

“other cases determined by the agency.” 5 U.S.C. § 552(a)(6)(E)(i). The FOIA defines

“compelling need” to include requests “made by a person primarily engaged in disseminating

information” where there is an “urgency to inform the public concerning actual or alleged

Federal Government activity.” Id. § 552(a)(6)(E)(v)(II).

       21.     OMB regulations require expedited treatment in cases where OMB determines,

among other things, that “[t]here is an urgency to inform the public about an actual or alleged



                                                    8
       Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25      Page 9 of 35




Federal Government Activity,” 5 C.F.R. § 1303.40(e)(1)(ii), or “[t]here are possible questions, in

a matter of widespread and exceptional public interest, about the Government’s integrity which

affect public confidence,” id. § 1303.40(e)(1)(iv).

       22.     Agencies are required to make a determination on a request for expedited

processing within 10 calendar days “after the date of the request.” 5 U.S.C. § 552(a)(6)(E)(ii)(I);

see also 5 C.F.R. § 1303.40(e)(4) (“OMB will decide whether to grant a request for expedited

processing and will notify the requester within 10 calendar days after the date of the request.”);

36 C.F.R. § 1250.28(d) (“[NARA] will respond to your request for expedited processing within

10 calendar days of our receipt of your request to expedite.”). Once expedited processing is

granted, agencies must process the request “as soon as practicable.” 5 U.S.C. § 552(a)(6)(E)(iii);

see also 5 C.F.R. § 1303.40(e)(4); 36 C.F.R. § 1250.28(d).

       23.     An agency’s failure to respond within 10 calendar days to a request for expedited

processing is subject to judicial review without exhausting administrative remedies. 5 U.S.C. §

552(a)(6)(E)(ii)(I)–(iii); CREW v. DOJ, 436 F. Supp. 3d 354, 359 (D.D.C. 2020).

       24.     Agency decisions to deny or affirm denial of a request for expedited processing

are subject to judicial review “based on the record before the agency at the time of the

determination.” 5 U.S.C. § 552(a)(6)(E)(iii).

The Federal Records Act

       25.     The FRA governs the creation, management, and disposal of federal records. See

44 U.S.C. §§ 2101, et seq.; §§ 2901, et seq.; §§ 3101, et seq.; and §§ 3301, et seq. It seeks to

ensure the “[a]ccurate and complete documentation of the policies and transactions of the

Federal Government.” 44 U.S.C. § 2902(1).




                                                 9
      Case 1:25-cv-00511-CRC            Document 1        Filed 02/20/25     Page 10 of 35




       26.     The FRA requires federal agencies to “make and preserve records containing

adequate and proper documentation of the organization, functions, policies, decisions,

procedures, and essential transactions of the agency and designed to furnish the information

necessary to protect the legal and financial rights of the Government and of persons directly

affected by the agency’s activities.” 44 U.S.C. § 3101.

       27.     The FRA further requires agencies to “establish and maintain an active,

continuing program for the economical and efficient management of the records of the agency.”

44 U.S.C. § 3102. The agency’s records management program “shall provide for,” among other

things, “effective controls over the creation and over the maintenance and use of records in the

conduct of current business.” Id. § 3102(1).

       28.     Federal records cannot be destroyed without NARA’s approval. See 44 U.S.C. §

3314; Pub. Citizen v. Carlin, 184 F.3d 900, 902 (D.C. Cir. 1999). NARA can authorize the

destruction of records by an agency only by approving either a schedule governing the

disposition of specified agency records, see 44 U.S.C. §§ 3303a(a), or a general records schedule

listing types of records held by multiple agencies, id. 3303a(d).

       29.     The FRA generally requires that federal records, including those generated in

personal electronic messaging accounts, be preserved in a government recordkeeping system. To

that end, the statute prohibits agency officials from “creat[ing] or send[ing] a record using a non-

official electronic messaging account unless such officer or employee—(1) copies an official

electronic messaging account of the officer or employee in the original creation or transmission

of the record; or (2) forwards a complete copy of the record to an official electronic messaging

account of the officer or employee not later than 20 days after the original creation or

transmission of the record.” 44 U.S.C. § 2911(a).



                                                 10
       Case 1:25-cv-00511-CRC           Document 1        Filed 02/20/25      Page 11 of 35




       30.     To prevent the unlawful destruction or removal of records, the FRA creates a

“system of administrative enforcement.” Armstrong v. Bush, 924 F.2d 282, 294 (D.C. Cir. 1991).

If an agency head becomes aware of “any actual, impending, or threatened unlawful removal,

defacing, alteration, corruption, deletion, erasure, or other destruction of records in the custody

of the agency,” the agency head “shall notify the Archivist” and “with the assistance of the

Archivist shall initiate action through the Attorney General for the recovery” of those records. 44

U.S.C. § 3106(a); see also 36 C.F.R. § 1230.14 (detailing how agencies “must report promptly

any unlawful or accidental removal, defacing, alteration, or destruction of records in the custody

of that agency to NARA”).

       31.     Similarly, “[t]he Archivist shall notify the head of a Federal agency of any actual,

impending, or threatened unlawful removal, defacing, alteration, or destruction of records in the

custody of the agency that shall come to the Archivist’s attention, and assist the head of the

agency in initiating action through the Attorney General for the recovery of records unlawfully

removed and for other redress provided by law.” 44 U.S.C. § 2905(a).

       32.     If the agency head “does not initiate an action for such recovery or other redress

within a reasonable period of time after being notified of any such unlawful action . . . or is

participating in, or believed to be participating in any such unlawful action, the Archivist shall

request the Attorney General to initiate such an action, and shall notify the Congress when such a

request has been made.” 44 U.S.C. § 3106(b); see also id. § 2905(a) (“In any case in which the

head of the agency does not initiate an action for such recovery or other redress within a

reasonable period of time after being notified of any such unlawful action, the Archivist shall

request the Attorney General to initiate such an action, and shall notify the Congress when such a

request has been made.”).



                                                 11
         Case 1:25-cv-00511-CRC          Document 1        Filed 02/20/25      Page 12 of 35




         33.   The FRA’s “mandatory enforcement provisions” reflect Congress’s judgment that

“marshalling the law enforcement authority of the United States [is] a key weapon in assuring

record preservation and recovery.” Judicial Watch, Inc. v. Kerry, 844 F.3d 952, 956 (D.C. Cir.

2016).

         34.   Under NARA regulations, “[u]nlawful or accidental destruction (also called

unauthorized destruction) means disposal of an unscheduled or permanent record; disposal prior

to the end of the NARA-approved retention period of a temporary record (other than court-

ordered disposal under § 1226.14(d) of this subchapter); and disposal of a record subject to a

FOIA request, litigation hold, or any other hold requirement to retain the records.” 36 C.F.R. §

1230.3(b). “The penalties for the unlawful or accidental removal, defacing, alteration, or

destruction of Federal records or the attempt to do so, include a fine, imprisonment, or both.” Id.

§ 1230.12 (citing 18 U.S.C. §§ 641, 2071).

The Administrative Procedure Act

         35.   The APA provides that a “person suffering legal wrong because of agency action,

or adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

entitled to judicial review thereof.” 5 U.S.C. § 702.

         36.   The term “agency action” includes “the whole or a part of an agency rule, order,

license, sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13).

         37.   A court reviewing a claim under 5 U.S.C. § 702 “shall decide all relevant

questions of law, interpret constitutional and statutory provisions, and determine the meaning or

applicability of the terms of an agency action.” 5 U.S.C. § 706. The reviewing court shall

“compel agency action unlawfully withheld or unreasonably delayed” and “hold unlawful and set




                                                  12
      Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25        Page 13 of 35




aside agency action, findings, and conclusions found to be—arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” Id. §§ 706(1), (2)(A).

       38.     In the FRA context, the APA authorizes claims challenging the failure of an

agency and NARA to initiate a DOJ enforcement action pursuant to 44 U.S.C. § 3106 and §

2905(a). See Judicial Watch, 844 F.3d at 954.

Mandamus

       39.     Where a Plaintiff can “demonstrate (1) a clear and indisputable right to relief, (2)

that the government agency or official is violating a clear duty to act, and (3) that no adequate

alternative remedy exists,” Am. Hosp. Ass’n v. Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016),

“[t]he district courts shall have original jurisdiction” to compel performance of the duty by

issuing a writ of mandamus. 28 U.S.C. § 1361.

                                  FACTUAL ALLEGATIONS

Establishment of DOGE and USDS

        40.    On November 13, 2024, President-elect Donald Trump announced the formation

 of the “Department of Government Efficiency” (“DOGE”). 10 The announcement stated that

 Elon Musk and Vivek Ramaswamy would lead the agency and that its mission would be to

 “pave the way for [the Trump] Administration to dismantle Government Bureaucracy, slash

 excess regulations, cut wasteful expenditures, and restructure Federal Agencies.” 11

        41.    Messrs. Musk and Ramaswamy described DOGE’s strategic plan in an article that

 they co-authored and published in the Wall Street Journal, vowing that they would “advise




10
   Donald J. Trump (@realDonaldTrump), X (Nov. 13, 2024, 6:21 AM),
https://x.com/realDonaldTrump/status/1856658569124262092.
11
   Id.
                                                 13
       Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25     Page 14 of 35




 DOGE at every step to pursue three major kinds of reform: regulatory rescissions,

 administrative reductions and cost savings.” 12

         42.    Messrs. Musk and Ramaswamy also stated that DOGE would operate with

 “embedded appointees” at various federal agencies to develop its recommendations for

 “reform.” 13 They pledged to identify and provide a list of “thousands” of unlawful regulations

 so that President Trump could “nullif[y]” them, pursue “mass head-count reductions across the

 federal bureaucracy” to “identify[] pinpoint executive actions that would result in immediate

 savings for taxpayers,” and to conduct “[l]arge-scale audits” to reform the “procurement

 process.” 14

         43.    Mr. Musk repeatedly stated that his goal is to use DOGE to cut $2 trillion out of

 the federal budget. 15

         44.    DOGE formed and began operating before President Trump’s inauguration on

 January 20, 2025. Those working under its auspices prior to President Trump’s inauguration

 included close business associates of Mr. Musk. 16



12
   Elon Musk & Vivek Ramaswamy, Elon Musk and Vivek Ramaswamy: The DOGE Plan to
Reform Government, WSJ (Nov. 20, 2024),
https://www.wsj.com/opinion/musk-and-ramaswamy-the-doge-plan-to-reform-government-
supreme-court-guidance-end-executive-power-grab-fa51c020?mod=hp_opin_pos_0.
13
   Id.
14
   Id.
15
   Alex Gangitano, Musk: Cutting $2T through DOGE ‘best-case outcome’, The Hill (Jan. 9,
2025), https://thehill.com/homenews/administration/5076095-elon-musk-doge-2t-spending-cut-
goal/; Justin Lahart and Rosie Ettenheim, Musk Wants $2 Trillion of Spending Cuts. Here’s Why
That’s Hard., Wall St. J. (Nov. 26, 2024), https://www.wsj.com/politics/policy/government-
spending-doge-elon-musk-trump-administration-60477bc5.
16
   Donald J. Trump (@realDonaldTrump), Truth Social (Dec. 4, 2024, 12:50 PM),
https://truthsocial.com/@realDonaldTrump/posts/113595819146944245; Josh Gerstein, Trump’s
next White House counsel is ‘the exception to the rule’ of Trump lawyers, Politico (Nov. 11,
2024), https://www.politico.com/news/2024/11/18/trump-william-mcginley-white-house-
counsel-00190101; Ken Thomas et al., Inside the Early Days of DOGE, Wall St. J. (Jan. 17,
2025), https://www.wsj.com/politics/policy/doge-federal-reform-musk-ramaswamy-118a3833;
                                                   14
      Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25      Page 15 of 35




        45.     Its operations prior to President Trump’s inauguration included “sending

representatives to agencies across the federal government . . . to begin preliminary interviews”

with agency officials, including officials at “the Treasury Department, the Internal Revenue

Service and the departments of Homeland Security, Veterans Affairs, and Health and Human

Services.” 17

        46.     During this period, individuals associated with DOGE conducted DOGE’s work

using the ephemeral messaging application Signal. 18 Signal is widely used for its auto-delete

functionality, which allows users to set Signal to automatically and permanently delete

messages and their associated metadata. 19

        47.     DOGE did not publicly disclose the identities or positions of its personnel, and

neither DOGE nor those who publicly associated themselves with it disavowed its use of Signal

in the course of conducting DOGE’s business.

       48.      Shortly after his inauguration on January 20, 2025, President Trump signed

Executive Order 14158, Establishing and Implementing the President's “Department of

Government Efficiency” (“USDS EO”). 20 The USDS EO renamed the United States Digital




The All-In Podcast (@theallinpod), X (Feb. 7, 2025, 9:44 PM),
https://x.com/theallinpod/status/1888056229294965223 (Antonio Gracias describing his part-
time work with DOGE); Antonio Gracias, Valor Equity Partners,
https://www.valorep.com/team/antonio-gracias (last visited Feb. 13, 2025).
17
   Faiz Siddiqui et al., DOGE is dispatching agents across U.S. government, Wash. Post
(Jan. 10, 2025), https://www.washingtonpost.com/business/2025/01/10/musk-ramaswamy-doge-
federal-agencies/.
18
   Theodore Schleifer & Madeleine Ngo, Inside Elon Musk’s Plan for DOGE to Slash
Government Costs, N.Y. Times (Jan. 23, 2025),
https://www.nytimes.com/2025/01/12/us/politics/elon-musk-doge-government-trump.html.
19
   Set and manage disappearing messages, Signal Support, https://support.signal.org/hc/en-
us/articles/360007320771-Set-and-manage-disappearing-messages (last visited Feb. 18, 2025).
20
   Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 29, 2025).
                                                15
       Case 1:25-cv-00511-CRC         Document 1       Filed 02/20/25     Page 16 of 35




Service as the United States DOGE Service and reorganized it within the Executive Office of the

President. 21

        49.     The United States Digital Service was previously a component of OMB, and its

operations were supervised by OMB’s Deputy Director of Management. 22

        50.     The USDS EO established the role of the U.S. DOGE Service Administrator (the

“USDS Administrator”) in the Executive Office of the President, reporting to the White House

Chief of Staff. 23

        51.     On information and belief, Mr. Musk exercises actual control over USDS’s

functions and operations. Although the Trump administration has not publicly identified the

USDS Administrator and has claimed that Mr. Musk is not an employee of USDS, 24 on February

19, 2025, President Trump said during a speech, “I signed an order creating the Department of

Government Efficiency and put a man named Elon Musk in charge.” 25 Even without President




21
   Id.
22
   See The U.S. Digital Service, Report to Congress – December 2016 at 4 (2016),
https://www.usds.gov/resources/USDS-2016-Impact-Report.pdf (explaining that “[a]t its
creation, USDS was administratively placed within the Office of the Federal CIO,” but later
reorganized within OMB and directly supervised by “the Deputy Director of Management”); see
also U.S. Gov’t Accountability Off., GAO-22-104492, Information Technology: Digital Service
Programs Need to Consistently Coordinate on Developing Guidance for Agencies (Dec. 10,
2021), https://www.gao.gov/products/gao-22-104492 (characterizing U.S. Digital Service as a
component within OMB); U.S. Gov’t Accountability Off., GAO-16-602, Digital Service
Programs: Assessing Results and Coordinating with Chief Information Officers Can Improve
Delivery of Federal Projects (Aug. 15, 2016), https://www.gao.gov/products/gao-16-602 (same).
23
   USDS EO, 90 Fed. Reg. at 8441.
24
   See Declaration of Joshua Fisher, New Mexico v. Musk, No. 25-cv-00429 (D.D.C. Feb. 17,
2025), ECF No. 24-1.
25
   President Trump Remarks at the FII Priority Summit, C-SPAN (Feb. 19, 2025),
https://www.c-span.org/program/white-house-event/president-trump-remarks-at-fii-priority-
summit/655974.
                                               16
       Case 1:25-cv-00511-CRC            Document 1      Filed 02/20/25      Page 17 of 35




Trump’s admission, Mr. Musk’s extensive public statements and conduct demonstrate that he is

operating as the de facto administrator. 26

       52.       The USDS EO purports to authorize USDS “to implement the President’s DOGE

Agenda, by modernizing Federal technology and software to maximize governmental efficiency

and productivity.” 27

       53.       The USDS EO also purports to establish “within USDS, in accordance with

section 3161 of title 5, United States Code, a temporary organization known as ‘the U.S. DOGE

Service Temporary Organization,’” which is headed by the USDS Administrator and mandated

to terminate on July 4, 2026. 28 The USDS EO states that the temporary organization “shall be

dedicated to advancing the President’s 18-month DOGE agenda.”

       54.       The USDS EO requires the establishment of “DOGE Teams” within each agency,

mandating that

       [i]n consultation with USDS, each Agency Head shall establish within their
       respective Agencies a DOGE Team of at least four employees, which may include
       Special Government Employees, hired or assigned within thirty days of the date of
       this Order. Agency Heads shall select the DOGE Team members in consultation
       with the USDS Administrator. Each DOGE Team will typically include one DOGE
       Team Lead, one engineer, one human resources specialist, and one attorney.
       Agency Heads shall ensure that DOGE Team Leads coordinate their work with
       USDS and advise their respective Agency Heads on implementing the President’s
       DOGE Agenda. 29

       55.       The USDS EO does not delegate any statutory authority to USDS.

       56.       Another executive order directs the Assistant to the President for Domestic

Policy, in consultation with the USDS Administrator, the Director of OMB, and the Director of




26
   See infra ¶¶ 84-87.
27
   USDS EO, 90 Fed. Reg. at 8441.
28
   Id.
29
   Id.
                                                 17
       Case 1:25-cv-00511-CRC            Document 1        Filed 02/20/25      Page 18 of 35




the OPM, to develop “a Federal Hiring Plan that brings to the Federal workforce only highly

skilled Americans dedicated to the furtherance of American ideals, values, and interests.” 30

       57.     A separate presidential memorandum orders “a freeze on the hiring of Federal

civilian employees, to be applied throughout the executive branch” and directs the Director of

OMB, in consultation with the USDS Administrator and Director of OPM, to “submit a plan to

reduce the size of the Federal Government’s workforce through efficiency improvements and

attrition,” which, when issued by OMB, would lift the hiring freeze for all agencies “with the

exception of the Internal Revenue Service (IRS).” 31 The hiring freeze at IRS will remain in effect

“until the Secretary of the Treasury, in consultation with the Director of OMB and the

Administrator of USDS, determines that it is in the national interest to lift the freeze.” 32

       58.     Another executive order, issued on February 11, 2025, entitled “Implementing the

President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative” requires

that “[e]ach Agency Head shall develop a data-driven plan, in consultation with its DOGE Team

Lead, to ensure new career appointment hires are in highest-need areas,” purports to empower

“DOGE Team Leads” at each agency to decide whether “vacancies for career appointments . . .

should not be filled,” and requires each agency “DOGE Team Lead” to provide the USDS

Administrator “with a monthly hiring report for the agency.” 33

USDS’s Operations

       59.     In its short existence, USDS has wielded expansive power over all manner of

federal operations—well exceeding its limited authority as a non-statutory entity. See La. Pub.




30
   Exec. Order No. 14170, 90 Fed. Reg. 8621, 8621 (Jan. 30, 2025).
31
   Presidential Mem., 90 Fed. Reg. 8247, 8247 (Jan. 28, 2025).
32
   Id.
33
   Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025).
                                                  18
      Case 1:25-cv-00511-CRC           Document 1        Filed 02/20/25      Page 19 of 35




Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986) (“An agency literally has no power to act . . .

unless and until Congress confers power upon it.”).

       60.     USDS executed a potentially unlawful plan to destroy an independent agency

authorized by Congress, the U.S. Agency for International Development, leading to the loss of

nearly 52,000 American jobs and a global humanitarian crisis. 34

       61.     On February 3, Mr. Musk posted on his X account, “We spent the weekend

feeding USAID into the wood chipper. Could gone [sic] to some great parties. Did that

instead.” 35 A judge has temporarily enjoined the placement of USAID employees on leave. 36

       62.     USDS has touted its success in achieving the cancellation of more than $1 billion

in what it characterized as “DEI [diversity, equity, and inclusion] contracts” across 25 agencies,

each of which has its own contracting authority. 37

       63.     USDS has effectively taken control of the Office of Personnel Management, the

agency responsible for the administration of around 2.3 million Executive Branch employees. 38

In so doing, it has apparently gained unfettered access to a “massive trove” of the personal data

of tens of millions of federal employees and applicants for federal jobs, including the “dates of

birth, Social Security numbers, appraisals, home addresses, pay grades and length of service” of




34
   Barry-Jester & Murphy, supra note 6.
35
   Elon Musk (@elonmusk), X (Feb. 3, 2025, 1:54 AM),
https://x.com/elonmusk/status/1886307316804263979.
36
   Kwan Wei Kevin Tan et al., Judge blocks Trump, Musk's shutdown of USAID, Business
Insider (Feb. 7, 2025), https://www.businessinsider.com/trump-musk-doge-usaid-shutdown-
blocked-2025-2.
37
   Creitz, supra note 4.
38
   Will Steakin & Laura Romero, OPM, implementing Musk's DOGE plans, sends federal
workers 2nd 'Fork in the Road' email, ABC News (Feb. 3, 2025),
https://abcnews.go.com/US/opm-implementing-musks-doge-plans-sends-federal-
workers/story?id=118401375; Danner, supra note 7.
                                                19
      Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25      Page 20 of 35




federal employees. 39 At the same time, it has locked civil servants who had previously

maintained the data out of those systems. 40

       64.     USDS was also responsible for sending out “fork in the road” emails offering

buyouts (or “deferred resignation”) to virtually every federal civilian employee. 41 “Fork in the

Road,” which then also became the title of the OPM page describing the buyout program to

federal employees, 42 was also the subject line of a 2022 company-wide email that Mr. Musk sent

to his employees at Twitter that gave them an ultimatum to commit to being “extremely

hardcore” or accept a three-month’s of severance pay, shortly after he purchased the company. 43

       65.     USDS has secured access to information technology systems with highly

restricted and confidential data at numerous federal agencies, including OPM, USAID, the

Centers for Medicare & Medicaid Services, the Department of Commerce, the Department of

Education, the Department of Energy, the Federal Emergency Management Agency, the

Department of Health and Human Services, the National Oceanic and Atmospheric




39
   Isaac Stanley-Becker et al., Musk’s DOGE agents access sensitive personnel data, alarming
security officials, Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-
security/2025/02/06/elon-musk-doge-access-personnel-data-opm-security/; Andrea Shalal &
Doina Chiacu, Musk’s DOGE agents access sensitive government personnel data, Washington
Post reports, Reuters (Feb. 6, 2025), https://www.reuters.com/world/us/musks-doge-agents-
access-sensitive-opm-personnel-data-washington-post-reports-2025-02-06/.
40
   Tim Reid, Exclusive: Musk aides lock workers out of OPM computer systems, Reuters (Feb. 2,
2025), https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-
systems-us-agency-sources-say-2025-01-31/.
41
   Danner, supra note 7.
42
   See Fork in the Road, OPM, https://www.opm.gov/fork (last visited Feb. 19, 2025).
43
   Victor Ordonez, Commit ‘hardcore’ or leave, Elon Musk tells Twitter employees, ABC News
(Nov. 16, 2022), https://abcnews.go.com/Business/commit-hardcore-leave-elon-musk-tells-
twitter-employees/story?id=93411363.
                                                20
        Case 1:25-cv-00511-CRC         Document 1        Filed 02/20/25     Page 21 of 35




Administration, the Department of Treasury, the Department of Homeland Security, and the

Consumer Financial Protection Bureau. 44

        66.    The USAID systems to which USDS gained access included to classified

information, 45 and USDS then posted classified data on its website about the size and staff of the

National Reconnaissance Office. 46

        67.    The systems to which USDS secured access at the Office of Personnel

Management, 47 the Department of Education, 48 and the Federal Emergency Management

Agency included sensitive personal data of large numbers of federal employees and private

citizens. 49



44
   Danner, supra note 7; Aileen Graef & Veronica Stracqualursi, Homeland Security Secretary
Noem says DOGE team has access to agency data, CNN (Feb. 9, 2025),
https://www.cnn.com/2025/02/09/politics/noem-homeland-security-doge-musk-
cnntv/index.html; Jennifer Jacobs, DOGE gets access into Consumer Financial Protection
Bureau as OMB's Russell Vought takes over as acting head of federal consumer watchdog
agency, CBS News (Feb. 8, 2025), https://www.cbsnews.com/news/doge-access-consumer-
financial-protection-bureau-omb-russel-vough-acting-head/.
45
   Abigail Williams et al., USAID security leaders removed after refusing Elon Musk's DOGE
employees access to secure systems, NBC News (Feb. 2, 2025),
https://www.nbcnews.com/politics/national-security/usaid-security-leaders-removed-refusing-
elon-musks-doge-employees-acce-rcna190357; Ellen Knickmeyer & Matthew Lee, USAID
security chiefs put on leave after trying to stop Musk’s team from accessing classified info,
officials say, PBS News (Feb. 2, 2025), https://www.pbs.org/newshour/politics/usaid-security-
chiefs-put-on-leave-after-trying-to-stop-musks-team-from-accessing-classified-info-officials-say.
46
   Jennifer Bendery, Elon Musk’s DOGE Posts Classified Data On Its New Website, HuffPost
(Feb. 14, 2025), https://www.huffpost.com/entry/elon-musk-doge-posts-classified-
data_n_67ae646de4b0513a8d767112.
47
   Isaac Stanley-Becker et al., Musk’s DOGE agents access sensitive personnel data, alarming
security officials, Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-
security/2025/02/06/elon-musk-doge-access-personnel-data-opm-security/.
48
   See Collin Binkley & Bianca Vázquez Toness, Musk Team’s Access To Student Loan Systems
Raises Alarm Over Borrowers’ Personal Information, AP (Feb. 7, 2025),
https://apnews.com/article/education-department-trump-
doge8c5bba3883b3d924b28114a4f291bec4.
49
   Aileen Graef & Veronica Stracqualursi, DOGE Team Has Access To FEMA Private
Information On Those Who Received Disaster Relief Grants, ACTION NEWS NOW (Feb. 9,
2025), https://www.actionnewsnow.com/news/doge-team-has-access-to-fema-private-
                                                21
       Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25      Page 22 of 35




           68.   The systems to which USDS has gained access at the Centers for Medicare &

Medicaid Services 50 and the Department of Treasury include payment systems with sensitive

financial data. 51

           69.   At the Treasury Department, USDS has gained access to a highly sensitive

payment system that Treasury uses to disburse trillions of dollars every year. 52 At least one

individual associated with USDS apparently had “read-write” access to the system for a period of

time. 53

           70.   USDS secured access to at least some of these systems over the objections of

agency personnel charged with their care and in contravention of safeguards required to access

them. 54

           71.   On February 7, 2025, Mr. Musk posted via his X account, “What is this

‘Department of Education’ you keep talking about? I just checked and it doesn’t exist.” 55 Then



information-onthose-who-received-disaster-relief-grants/article_9f408dd9-cffd-57ae-ab33-
17b5e6d450a5.html.
50
   Anna Wilde Mathews & Liz Essley Whyte, DOGE Aides Search Medicare Agency Payment
Systems for Fraud, Wall St. J. (Feb. 5, 2025), https://www.wsj.com/politics/elon-musk-doge-
medicare-medicaid-fraud-e697b162.
51
   Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System,
N.Y. Times (Feb. 1, 2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-
federal-payments-system.html.
52
   Hussein, supra note 8; Kate Gibson, Elon Musk's access to Treasury's payment system is
raising alarms. Here's what to know., CBS News (Feb. 5, 2025),
https://www.cbsnews.com/news/musk-treasury-social-security-access-federal-payment-system-
trump/.
53
   Yeganeh Torbati et al., Who’s working for Elon Musk’s DOGE?, Wash. Post (Feb. 14, 2025),
https://www.washingtonpost.com/business/2025/02/14/doge-employees-list-staff-elon-musk/;
Danner, supra note 7.
54
   Ellen Knickmeyer, USAID security leaders on leave after trying to keep Musk's DOGE from
classified info, officials say, LA Times (Feb. 2, 2025), https://www.latimes.com/world-
nation/story/2025-02-02/usaid-security-leaders-on-leave-after-trying-to-keep-musks-doge-from-
classified-info-officials-say.
55
   Elon Musk (@Elon Musk), X (Feb. 7, 2025, 8:34 PM),
https://x.com/elonmusk/status/1888038615780909178.
                                                 22
       Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25      Page 23 of 35




on February 10, 2025, USDS announced massive cuts at the Department of Education, totaling

more than $900 million. 56

        72.     USDS has also wielded substantial influence over federal law enforcement.

        73.     For instance, USDS personnel apparently caused the U.S. Marshals Service,

which serves as the federal judiciary’s enforcement and security arm, to pressure judges of this

Court to speed up the release of individuals pardoned for crimes relating to the January 6, 2021

attack on the Capitol. 57

        74.     On February 1, 2025, representatives of USDS appeared at USAID’s offices and

demanded access to a sensitive compartmented information facility (“SCIF”) that contained

classified material for which they apparently lacked “high enough security clearance.” 58 Two

USAID security chiefs refused to grant them access because they understood themselves to be

legally barred from doing so, and were threatened that United States Marshals would be called to

grant the USDS representatives the access they demanded, and then placed on leave. 59

        75.     USDS has seized extensive control of and influence over the functions of the

federal government described above without publicly disclosing its personnel, their positions,

their roles, or their employment status vis-a-vis the federal government, including their civil

service classifications, security clearances, or even if they are government employees.



56
   Zach Montague & Dana Goldstein, Musk Team Announces Millions in Cuts to Education
Dept. Amid Legal Pushback, N.Y. Times (Feb. 11, 2025),
https://www.nytimes.com/2025/02/11/us/politics/musk-doge-education-data.html.
57
   Marcus, supra note 9.
58
   Andrew Roth, Senior USAid officials put on leave after denying access to Musk’s Doge team,
The Guardian (Feb. 3, 2025), https://www.theguardian.com/us-news/2025/feb/02/usaid-officials-
put-on-leave-musk-doge; Ellen Knickmeyer, Elon Musk says President Donald Trump has
‘agreed’ USAID should be shut down, Associated Press (Feb. 3, 2025),
https://apnews.com/article/doge-musk-trump-classified-information-usaid-security-
35101dee28a766e0d9705e0d47958611.
59
   See Roth, supra note 58; Knickmeyer, supra note 58.
                                                 23
      Case 1:25-cv-00511-CRC            Document 1      Filed 02/20/25     Page 24 of 35




       76.       Indeed, USDS personnel have refused to identify themselves to government

employees from whom they have demanded information about the workings of the

government. 60

       77.       Mr. Musk indicated that individuals simply revealing the names of those

associated with USDS could be committing a crime. 61

       78.       According to a lawsuit brought by employees of the Office of Personnel

Management and public reporting, individuals associated with USDS have installed a server

from outside of the agency, creating concerns about proper records preservation. 62

       79.       USDS appears to be conducting official government business on the social media

platform X, raising additional concerns about proper records preservation. 63 An X account

purporting to be the official account of the “Department of Government Efficiency” was created

in November 2024. 64 Upon the reorganization and renaming of the USDS on January 20, 2025,




60
   Conrad Quilty-Harper, Musk’s DOGE Minions Refuse to Reveal Their Names When Grilling
Civil Servants, The Daily Beast (Feb. 4, 2025), https://www.thedailybeast.com/musks-doge-
minions-refuse-to-reveal-their-names-when-grilling-civil-
servants/?utm_source=twitter_owned_tdb&utm_medium=socialflow&via=twitter_page&utm_ca
mpaign=owned_social; Benjamin Siegel et al., ‘What’s going to break?’ DOGE staffers
‘scorching the earth’ as they reshape federal government, ABC News (Feb. 6, 2025),
https://abcnews.go.com/Politics/whats-break-doge-staffers-scorching-earth-reshape-
federal/story?id=118536035.
61
   Peter Suciu, DOGE Employees Identified On X – Doxing Or Case Of Free Speech?, Forbes
(Feb. 4, 2025), https://www.forbes.com/sites/petersuciu/2025/02/04/doge-employees-identified-
on-x--doxing-or-case-of-free-speech/.
62
   Rebecca Beitsch, OPM employees file suit to block use of new email system, The Hill (Feb. 4,
2025), https://thehill.com/homenews/administration/5126073-opm-email-system-battle/; Dell
Cameron, Federal Workers Sue to Disconnect DOGE Server, WIRED (Feb. 4, 2025),
https://www.wired.com/story/federal-workers-sue-over-doge-server/.
63
   Kate Conger, Elon Musk’s X Becomes Weapon in Government Cost Cutting, N.Y. Times (Feb.
4, 2025),
https://www.nytimes.com/2025/02/04/technology/elon-musk-x-doge.html.
64
   See generally, Department of Government Efficiency (@DOGE), X,
https://x.com/doge?lang=en.
                                                24
       Case 1:25-cv-00511-CRC             Document 1        Filed 02/20/25       Page 25 of 35




that account became the official account of the USDS. It routinely publishes posts promising

action by USDS, announcing accomplishments by USDS, and responding to news coverage and

criticisms of USDS. 65 The official website of USDS, doge.gov, not launched until February 12,

bears the same logo as the X account, links directly to the X account, and its homepage is a feed

of the X account’s posts. 66

        80.     The official USDS X account accepts direct messages from X users. On

November 14, 2024, that official account solicited job applicants to direct message the account

with their information. 67 That solicitation is still posted and the account is still receiving direct

messages, indicating that USDS has been conducting official business, including personnel

decisions, via the X direct message function.

        81.     Mr. Musk also appears to be conducting official business from his X account,

where he responded “Thank you, receipt via X acknowledged” after being sent, via X, a letter

from a United States Attorney. 68 That letter explicitly indicated that it was “SENT VIA X:

@elonmusk” to “Mr. Elon Musk[,] DOGE[,] United States Government.” 69

        82.     USDS appears to also be either operating X accounts for other agencies or

coordinating the use of USDS-related X accounts by other agencies. On February 16, 2025,

USDS posted to X requesting that members of the public “[p]lease DM insight for reducing

waste, fraud, and abuse, along with any helpful insights or awesome ideas, to the relevant DOGE



65
   See generally id.
66
   Dep’t of Gov’t Efficiency, https://doge.gov/; Faiz Siddiqui, Musk’s DOGE launches a website
tracking size of federal workforce, Wash. Post (Feb. 13, 2025),
https://www.washingtonpost.com/business/2025/02/13/elon-musk-doge-website/.
67
   Department of Government Efficiency (@DOGE), X (Nov. 14, 2024, 10:03 AM),
https://x.com/DOGE/status/1857076831104434289.
68
   Elon Musk (@elonmusk), X (Feb. 3, 2025, 11:49 AM),
https://x.com/elonmusk/status/1886457064438030687.
69
   Id.
                                                   25
       Case 1:25-cv-00511-CRC             Document 1   Filed 02/20/25     Page 26 of 35




affiliates (found on the Affiliates tab). For example, @DOGE_USDA, @DOGE_SSA, etc. We

will add more affiliates over time.” 70

       83.     On information and belief, USDS’s continued secrecy regarding its composition

and operations thwart the proper operation and purpose of the FRA by preventing discovery of

USDS’s violations of the statute and reports of violations to NARA.

       84.     These facts and an extensive record of public statements by President Trump, his

representatives, and Mr. Musk confirm that Mr. Musk is the de facto administrator of USDS. On

November 12, 2024, President Trump named Mr. Musk as the leader of the Department of

Government Efficiency, commonly referred to as “DOGE,” and what would eventually become

USDS. Likewise, on December 22, 2024, President Trump said he would “create the new

Department of Government Efficiency, headed by Elon Musk.” And on January 19, 2025, one

day before creating USDS, President Trump said, “We will create the new Department of

Government Efficiency, headed by a gentleman named Elon Musk.” 71

       85.     On February 9, 2025, President Trump indicated that Mr. Musk hired personnel in

his capacity when he said that Mr. Musk “comes in with a hundred very smart people.” 72 In an




70
   Department of Government Efficiency (@DOGE), X (Feb. 16, 2025, 7:49 PM),
https://x.com/doge/status/1891288881674240070?s=46&t=-tkA4Plhw0ldXWGtY5kv1A.
71
   Aaron Blake, The White House’s many contradictions on Musk running DOGE, Wash. Post
(Feb. 18, 2025), https://www.washingtonpost.com/politics/2025/02/18/trump-musk-doge-
contradictions/. Mr. Ramaswamy ended his association with the Department of Government
Efficiency and USDS on January 20, 2025, the day that USDS was created, after reportedly
clashing with Mr. Musk. See Adam Gabbatt, Vivek Ramaswamy quits ‘Doge’ cost-cutting
program leaving Musk in charge, The Guardian (Jan. 21, 2025),
https://www.theguardian.com/us-news/2025/jan/21/vivek-ramaswamy-quits-doge-elon-musk. In
an X post announcing his departure, he said “It was my honor to help support the creation of
DOGE. I’m confident Elon & team will succeed in streamlining government.” Vivek
Ramaswamy (@VivekGRamaswamy), X (Jan. 20, 2025),
https://x.com/VivekGRamaswamy/status/1881482161565618648.
72
   Blake, supra note 71.
                                                26
       Case 1:25-cv-00511-CRC           Document 1        Filed 02/20/25      Page 27 of 35




interview on February 18, 2025, when President Trump was asked if Mr. Musk was his “tech

support,” the President replied “No, no . . . He is much more than that . . . But he gets it done.

He’s a leader[.]” 73 The President continued, quoting Mr. Musk, “‘You know, when you sign

these executive orders, a lot of them don’t get done, and maybe the most important ones,’ and he

[Mr. Musk] would take that executive order that I’d signed, and he would have those people go

to whatever agency it was ‘When are you doing it? Get it done. Get it done.’ And some guy that

maybe didn’t want to do it, all of a sudden, he’s signing[.]” 74

       86.     White House Press Secretary Karoline Leavitt has similarly identified Mr. Musk

as the leader of USDS. Since USDS’s creation, she has publicly stated that President Trump

“directed Elon Musk and DOGE” to investigate government kickbacks, 75 “directed Mr. Musk

and the DOGE team to identify fraud at the Social Security Administration,” 76 and “tasked Elon

Musk with administering his America first agenda[.]” 77

       87.     During a February 11, 2025 event in the Oval Office in which President Trump

signed an executive order expanding USDS’s operations, Mr. Musk said, in response to

questions, “Well, we actually are trying to be as transparent as possible. In fact, we post our

actions to the DOGE handle on X [USDS’s official X account] and to the DOGE website

[USDS’s official website]. So all of our actions are maximally transparent. In fact . . . I don’t




73
   Interview of President Trump and Elon Musk By Sean Hannity, “The Sean Hannity Show,”
The White House (Feb. 18, 2025), https://www.whitehouse.gov/remarks/2025/02/interview-of-
president-trump-and-elon-musk-by-sean-hannity-the-sean-hannity-show/.
74
   Id.
75
   Id.
76
   Id.
77
   Karoline Leavitt: Musk is best to ‘shake up’ Washington swamp, Fox News (Feb. 17, 2025),
https://www.foxnews.com/video/6368980371112.
                                                 27
       Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25      Page 28 of 35




know of a case where an organization has been more transparent than the DOGE organization.” 78

When asked “how closely you’re working with agency heads as you’re directing these cuts,” Mr.

Musk replied, “Yeah, we work closely with agency heads . . . It’s not just us going in and doing

things willy-nilly.”79

Plaintiff’s Expedited FOIA Requests

        88.    On December 19, 2024, CREW submitted a FOIA request to OMB (“First OMB

 Request”) for records from November 5, 2024 to the date the request is processed reflecting

 communications between employees of OMB and various officials purporting to have an

 affiliation with DOGE, between employees of those agencies and individuals purporting to have

 an affiliation with the “Delivering Outstanding Government Efficiency Caucus,”

 communications within those agencies about “DOGE” and related terms, and other DOGE-

 related communications.

        89.    On December 20, 2024, OMB acknowledged receipt of the First OMB Request

 and assigned it tracking number 2025-373.

       90.     On January 24, 2025, CREW submitted an expedited FOIA request to OMB

(“Second OMB Request”) and an expedited FOIA request to USDS (“USDS Request”) seeking

records related to changes to the operations of the U.S. Digital Service, organizational charts,

financial disclosures, and other information relevant to the newly-formed USDS. The USDS

Request also sought “All communications between USDS personnel and personnel of any federal

agency outside of the Executive Office of the President.”



78
   Chris Megerian, WATCH: Trump makes appearance with Musk, signs executive order
downsizing federal workforce, PBS News (Feb. 11, 2025),
https://www.pbs.org/newshour/politics/watch-trump-makes-appearance-with-musk-signs-
executive-order-downsizing-federal-workforce (emphasis added).
79
   Id. (emphasis added).
                                                28
       Case 1:25-cv-00511-CRC          Document 1        Filed 02/20/25     Page 29 of 35




           91.   CREW submitted the USDS Request through OMB’s FOIA office.

           92.   On January 24, 2025, OMB acknowledged receipt of both the Second OMB

Request, assigned number 2025-574, and the USDS Request, assigned number 2025-573.

           93.   On January 28, 2025, CREW submitted a request for expedited processing of the

First OMB Request, citing the “urgency to inform the public about an actual or alleged Federal

Government activity” and the fact that “[t]here are possible questions, in a matter of widespread

and exceptional public interest, about the Government’s integrity which affect public

confidence.” See 5 C.F.R. § 1303.40(e)(1)(ii), (iv).

           94.   On January 29, 2025, OMB granted expedited treatment for both the Second

OMB Request and the USDS Request but did not commit to producing the documents by a date

certain.

           95.   On February 7, 2025, CREW sent a letter to OMB and USDS, through the OMB

FOIA office, requesting the production of the records requested in the Second OMB Request and

the USDS Request sufficiently in advance of the March 14, 2025 expiration of the current

continuing resolution fund the federal government, but no later than March 1, 2025.

           96.   CREW notified OMB and USDS in its February 7 letter that the records sought in

the Second OMB Request and USDS Request, which are related to the structure and operations

of USDS, are “critical for the American public to have an informed engagement with the

appropriations process” that has already begun to unfold, prior to the expiration of the

government’s funding.

           97.   CREW noted in its February 7 letter that members of Congress had already

publicly indicated that OMB’s role in efforts to curtail government spending in tandem with

USDS would be an important part of the public and congressional debate about how the



                                                29
      Case 1:25-cv-00511-CRC           Document 1       Filed 02/20/25      Page 30 of 35




government would continue to be funded. 80 Mr. Musk has commented that the latest executive

order on USDS “is the only way to balance the budget.” 81 The value of responsive records would

be significantly lessened after the appropriations process concludes—both for Americans in

favor of and opposed to how USDS is impacting the spending practices of the federal

government.

       98.     CREW further noted in its February 7 letter that USDS’s widely-reported conduct

in controlling and disrupting the functions of the federal government increases, both in the

appropriations process and generally, the need for the records sought by CREW immediately,

and certainly in time for the public to have them during the appropriations process.

       99.     On February 11, 2025, CREW sent a letter to OMB requesting production of the

records requested in the First OMB Request on the same grounds described in its February 7

letter because they, too, “are critical for the American public to have an informed engagement

with the appropriations process.”

       100.    On February 14, 2025, OMB granted expedited treatment for the First OMB

Request and acknowledged CREW’s letter of February 11 requesting that OMB produce the

responsive records by March 1, but did not commit to produce the records by any date certain.

       101.    To date, OMB has not responded to CREW’s February 7 letter.

Defendants’ Failure to Address the Threatened Loss of USDS Records

       102.    In a January 15, 2025 letter, CREW requested that the Archivist and acting

Director of OMB promptly comply with their statutory duties to investigate the potential



80
   See, e.g., Press Release, Congressman Hakeem Jeffries, Dear Colleague re: Ongoing House
Democratic Caucus Activity (Feb. 3, 2025), https://jeffries.house.gov/2025/02/03/dear-
colleague-re-ongoing-house-democratic-caucus-activity/.
81
   Elon Musk (@elonmusk), X (Feb. 11, 2025, 9:02 PM),
https://x.com/elonmusk/status/1889495373024051513.
                                                30
      Case 1:25-cv-00511-CRC            Document 1      Filed 02/20/25      Page 31 of 35




unauthorized destruction of federal records of DOGE’s Signal communications and initiate a

DOJ enforcement to recover any records that might have been destroyed.

       103.   To date, neither NARA nor OMB have responded to this letter.

       104.   In a January 27, 2025 letter, CREW again requested that the Archivist, the acting

Director of OMB, and the Administrator of USDS promptly comply with their statutory duties to

investigate the potential unauthorized destruction of federal records of DOGE’s Signal

communications and initiate a DOJ enforcement to recover any records that might have been

destroyed.

       105.   To date, NARA, OMB, and USDS have not responded to this letter.

       106.   On information and belief, no Defendant has initiated a DOJ enforcement action

concerning the matters alleged above.

                                   CLAIMS FOR RELIEF

                                           Count One
                     Violation of FOIA – Wrongful Withholding of Records
                                     As to USDS and OMB
                                   (FOIA, 5 U.S.C. § 552(a)(3))

       107.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

       108.   In its December 19, 2024 and January 24, 2025 FOIA requests, Plaintiff properly

asked for records within the possession, custody, and control of Defendants.

       109.   Plaintiff further requested expedited processing of its FOIA requests.

       110.   Defendants have failed to process Plaintiff's requests expeditiously.

       111.   Defendants are wrongfully withholding records responsive to Plaintiff’s requests.

       112.   By failing to timely release all requested records in full, Defendants are in

violation of FOIA.

       113.   Plaintiff has constructively exhausted its administrative remedies.

                                               31
       Case 1:25-cv-00511-CRC           Document 1        Filed 02/20/25      Page 32 of 35




                                           Count Two
              Violation of the FRA – Failure to Initiate a Record Recovery Action
                                      As to All Defendants
                               (APA, 5 U.S.C. §§ 706(1), 706(2)(A))
                                 (FRA, 44 U.S.C. §§ 3106, 2905)

       114.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

       115.     The FRA imposes on USDS and OMB nondiscretionary duties to initiate an

enforcement action through the Attorney General when the agency “knows or has reason to

believe” of “any actual, impending, or threatened unlawful removal, defacing, alteration,

corruption, deletion, erasure, or other destruction” of federal records within the agency’s legal

ownership, custody, or control. 44 U.S.C. § 3106(a).

       116.     The FRA imposes on NARA a nondiscretionary duty to request that the Attorney

General initiate an enforcement action (and so notify Congress) when a federal agency either (1)

fails to initiate such an action “within a reasonable period of time after being notified” of “any

actual, impending, or threatened unlawful removal, defacing, alteration, corruption, deletion,

erasure, or other destruction” of federal records within the agency’s legal ownership, custody, or

control, or (2) “is participating in, or believed to be participating in any such unlawful action.”

44 U.S.C. §§ 3106, 2905(a).

       117.     On information and belief, USDS has unlawfully deleted or failed to preserve

federal records in violation of the FRA and NARA regulations, including but not limited to

communications on Signal and emails from personal accounts.

       118.     Plaintiff alerted Defendants of the potential unlawful deletions on January 15,

2025, and again on January 27, 2025, and requested that Defendants take prompt remedial

actions.




                                                 32
       Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25     Page 33 of 35




        119.    On information and belief, Defendants have taken no remedial actions in response

to Plaintiff’s requests.

        120.    On information and belief, Defendants have failed to initiate an FRA enforcement

action through the Attorney General.

        121.    On information and belief, the deleted records have not been restored, recovered,

retrieved, salvaged, or reconstructed.

        122.    The failure of Defendants to initiate an FRA enforcement action through the

Attorney General is “agency action unlawfully withheld or unreasonably delayed,” 5 U.S.C. §

706(1), and is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law,” id. § 706(2)(A).

                                       Count Three
                   Mandamus – Failure to Initiate a Record Recovery Action
                                   As to All Defendants
                              (Mandamus, 28 U.S.C. § 1361)
                              (FRA, 44 U.S.C. §§ 3106, 2905)

       123.     Plaintiff repeats and incorporates by reference each of the foregoing allegations as

if fully set forth herein.

       124.     As alleged above in paragraphs 25-34, the FRA imposes non-discretionary duties

on Defendants with respect to USDS records.

       125.     As alleged above in paragraphs 76-83, Defendants have violated their non-

discretionary duties under the FRA.

       126.     As alleged above in paragraphs 35-39, Plaintiff has a clear right to relief from

Defendants’ FRA violations.

       127.     To the extent that the Court finds that the APA does not authorize any of the relief

sought herein, mandamus is Plaintiff’s only adequate remedy.



                                                 33
      Case 1:25-cv-00511-CRC            Document 1       Filed 02/20/25      Page 34 of 35




      128.     Plaintiff is therefore entitled to a writ of mandamus compelling Defendants to

comply with their non-discretionary duties under the FRA.

                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests that this Court:

       (1)     Declare that Defendant USDS is an “agency” under 5 U.S.C. § 552(f)(1), 5 U.S.C.

§ 551(1), and 44 U.S.C. § 2901(14);

       (2)     Declare that Plaintiff is entitled to expedited processing and disclosure of the

requested records;

       (3)     Enter a preliminary injunction directing Defendants to expeditiously and fully

process Plaintiff’s FOIA requests and disclose all non-exempt records and a Vaughn index to

Plaintiff by no later than March 10, 2025;

       (4)     Enter a preliminary injunction directing Defendants to preserve all putative

federal records at issue during the pendency of litigation;

       (5)     Order Defendants to initiate an enforcement action through the Attorney General

to recover any unlawfully destroyed federal records;

       (6)     Provide for expeditious proceedings in this action;

       (7)     Retain jurisdiction of this action to ensure no agency records are wrongfully

withheld and ensure compliance with this Court’s orders;

       (8)     Award Plaintiff its costs and reasonable attorneys’ fees in this action; and

       (9)     Grant such other relief as the Court may deem just and proper.




                                                 34
Case 1:25-cv-00511-CRC     Document 1      Filed 02/20/25       Page 35 of 35




Dated: February 20, 2025                Respectfully submitted,

                                        /s/ Nikhel S. Sus                       .
                                        Nikhel S. Sus (D.C. Bar No. 1017937)
                                        Jonathan E. Maier* (D.C. Bar No. 1013857)
                                        Donald K. Sherman* (D.C. Bar No.
                                        90031810)
                                        CITIZENS FOR RESPONSIBILITY AND
                                        ETHICS IN WASHINGTON
                                        P.O. Box 14596
                                        Washington, D.C. 20004
                                        Telephone: (202) 408-5565
                                        Fax: (202) 588-5020
                                        nsus@citizensforethics.org
                                        jmaier@citizensforethics.org
                                        dsherman@citizensforethics.org

                                        Counsel for Plaintiff

                                        *Pro hac vice application forthcoming




                                 35
